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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


   ELLEN JEAN MITCHELL, et al.,
     Plaintiffs,

       v.                                              Civil Action No. ELH-18-2908

   TARGET CORPORATION,
       Defendant.

                                          ORDER

       In accordance with the foregoing Memorandum Opinion, it is this 18th day of October,

2019, by the United States District Court for the District of Maryland, hereby ORDERED:

       1) The Motion (ECF 20) is GRANTED;

       2) Judgment is entered in favor of defendant;

       3) The Clerk is directed to CLOSE this case.



                                                  /s/
                                           Ellen L. Hollander
                                           United States District Judge
